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                                                                                             EXHIBIT D

 COVID-19 Pandemic Planning Scenarios

 CDC and the Office of the Assistant Secretary for Preparedness and Response (ASPR) have developed
 five COVID-19 Pandemic Planning Scenarios that are designed to help inform decisions by modelers and
 public health officials who utilize mathematical modeling. The planning scenarios are being used by
 mathematical modelers throughout the Federal government. Models developed using the data provided in
 the planning scenarios can help evaluate the potential effects of different community mitigation strategies
 (e.g., social distancing). The planning scenarios may also be useful to hospital administrators in assessing
 resource needs and can be used in conjunction with the COVID-19Surge Tool.

 Each scenario is based on a set of numerical values for biological and epidemiological characteristics of
 COVID-19. These values—called parameter values—can be used to estimate the possible effects of
 COVID-19 in U.S. states and localities. The parameter values in each scenario will be updated and
 augmented over time, as we learn more about the epidemiology of COVID-19.

 New data on COVID-19 is available daily; information about its biological and epidemiological
 characteristics remain limited, and uncertainty remains around nearly all parameter values.

 The parameters in the scenarios:
 • Are estimates intended to support public health preparedness and planning.
 • Are not predictions of the expected effects of COVID-19.
 • Do not reflect the impact of any behavioral changes, social distancing, or other interventions.

 The Five Scenarios

 The five COVID-19 Pandemic Planning Scenarios (Box 1) represent a range of possible parameters for
 COVID-19 in the United States. All parameter values are based on current COVID-19 surveillance data
  and scientific knowledge.
 • Scenarios 1 through 4 are based on parameter values that represent the lower and upper bounds of
     disease severity and viral transmissibility (moderate to very high). The parameter values used in
     these scenarios are likely to change as we obtain additional data about the upper and lower bounds of
     disease severity and the transmissibility of SARS-CoV-2, the virus that causes COVID-19.
 • Scenario 5 represents a current best estimate about viral transmission and disease severity in the
     United States, with the same caveat: that the parameter values will change as more data become
     available.

 Parameter values that vary among the Pandemic Planning Scenarios are listed in Table 1, while parameter
 values common to all five scenarios are listed in Table 2. Definitions of the parameters are provided
 below, and the source of each parameter value is indicated in the Tables.

 The Parameter Values: Definitions

 Parameter values that vary across the five COVID-19 Pandemic Planning Scenarios (Table 1) include
 measures of viral transmissibility, disease severity, and pre-symptomatic and asymptomatic disease
 transmission. Where sufficient data are available, age-stratified estimates are provided.

     Viral Transmissibility

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    •   Basic reproduction number (R0): The average number of people that one person with COVID-
        19 is likely to infect in a population without any immunity (from previous infection) or any
        interventions. R0 is an estimate of how transmissible a pathogen is in a population.

    Disease Severity
    • Symptomatic Case Fatality Ratio: The number of symptomatic individuals who die of the
        disease among all individuals experiencing symptoms from the infection. This parameter is not
        necessarily equivalent to the number of reported deaths per reported cases, because many cases
        and deaths are never confirmed to be COVID-19, and there is a lag in time between when people
        are infected and when they die. This parameter reflects the existing standard of care and may be
        affected by the introduction of new therapeutics.
    • Symptomatic Case Hospitalization Ratio: The number of symptomatic individuals who are
        hospitalized from the disease among all individuals experiencing symptoms from the infection.
        This parameter is not necessarily equivalent to the number of reported hospitalizations per
        reported cases, because many cases and deaths are never confirmed to be COVID-19, and there is
        a lag in time between when people are infected and when they die. This parameter reflects the
        existing standard of care and may be affected by the introduction of new therapeutics.

    Pre-symptomatic and Asymptomatic Contribution to Disease Transmission

    A pre-symptomatic case of COVID-19 is an individual infected with SARS-CoV-2 who has not
    exhibited symptoms at the time of testing, but who later exhibits symptoms during the course of the
    infection. An asymptomatic case is an individual infected with SARS-CoV-2 who does not exhibit
    symptoms during the course of infection. Parameter values that measure the pre-symptomatic and
    asymptomatic contribution to disease transmission include:
    • Percentage of infections that are asymptomatic: The percentage of persons who are infected
        with SARS-CoV-2 but never show symptoms of disease. Asymptomatic cases are challenging to
        identify because individuals do not know they are infected unless they are tested, typically as a
        part of a scientific study.
    • Infectiousness of asymptomatic individuals relative to symptomatic individuals: The
        contribution to transmission of SARS-CoV-2 from asymptomatic individuals compared to the
        contribution to transmission of SARS-CoV-2 from symptomatic individuals. A parameter value
        of 50% means that an asymptomatic individual is half as infectious as a symptomatic individual,
        while a parameter value of 100% means that an asymptomatic individual is just as likely to
        transmit infection as a symptomatic individual. This parameter is especially challenging to
        estimate because studies that repeatedly test asymptomatic individuals over time are limited.

 Parameter values that do not vary across the five Pandemic Planning Scenarios (Table 2) include:
    • Level of pre-existing immunity to COVID-19 in the community: The percentage of the U.S.
       population that had existing immunity to COVID-19 prior to the start of the pandemic beginning
       in 2019.
    • Percentage of transmission occurring prior to symptom onset: The percentage of new cases
       of COVID-19 due to transmission from a person with COVID-19 who transmits infection to
       others before exhibiting symptoms.
    • Time from exposure to symptom onset: The number of days between the time when a person
       has contact with an infected person that results in COVID-19 infection and the first appearance of
       symptoms.


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     •   Time between symptom onset in an individual and symptom onset of a second person
         infected by that individual: The number of days between the time when a person becomes
         symptomatic and when the person who they infect becomes symptomatic.

 Additional parameter values common to the five COVID-19 Pandemic Planning Scenarios include these
 seven measures of healthcare usage:
     • Mean number of days from symptom onset to seeking outpatient care
     • Mean number of days from symptom onset to hospitalization
     • Mean number of days of hospitalization
     • Percentage of patients admitted to the ICU among those hospitalized
     • Percentage of patients on mechanical ventilation among admitted to the ICU
     • Mean number of days on mechanical ventilation
     • Median number of days from symptom onset to death

 These healthcare-related parameters (Table 2) are included to assist assessment of resource needs as the
 pandemic progresses.

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 Box 1 Description of the Five COVID-19 Pandemic Planning Scenarios

 For each Pandemic Planning Scenario:
 • Parameters values for viral transmissibility include the Basic Reproduction Number (R0)
 • Parameters values for disease severity include Symptomatic Case Fatality Ratio and Symptomatic
     Case Hospitalization Ratio
 • Parameter values for the pre-symptomatic and asymptomatic contribution to disease transmission
     include:
     - Percentage of transmission occurring prior to symptom onset (from pre-symptomatic individuals)
     - Percentage of infections that are asymptomatic
     - Infectiousness of asymptomatic individuals relative to symptomatic individuals

 For Pandemic Scenarios 1-4:
 • These Scenarios are based on parameter values that represent the lower and upper bounds of disease
     severity and viral transmissibility (moderate to very high). The parameter values used in these
     Scenarios are likely to change as we obtain additional data about the upper and lower bounds of
     disease severity and viral transmissibility of COVID-19.

 For Pandemic Scenario 5:
 • This Scenario represents a current best estimate about viral transmission and disease severity in the
     United States, with the same caveat: that the parameter values will change as more data become
     available.
                           ____________________________________________

 Scenario 1:
 • Lower-bound values for virus transmissibility and disease severity
 • Lower percentage of transmission prior to onset of symptoms
 • Lower percentage of infections that never have symptoms and lower contribution of those cases to
    transmission

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       Scenario 2:
       • Lower-bound values for virus transmissibility and disease severity
       • Higher percentage of transmission prior to onset of symptoms
       • Higher percentage of infections that never have symptoms and higher contribution of those cases to
          transmission

       Scenario 3:
       • Upper-bound values for virus transmissibility and disease severity
       • Lower percentage of transmission prior to onset of symptoms
       • Lower percentage of infections that never have symptoms and lower contribution of those cases to
          transmission

       Scenario 4:
       • Upper-bound values for virus transmissibility and disease severity
       • Higher percentage of transmission prior to onset of symptoms
       • Higher percentage of infections that never have symptoms and higher contribution of those cases to
          transmission

       Scenario 5:
       • Parameter values for disease severity, viral transmissibility, and pre-symptomatic and asymptomatic
          disease transmission that represent the best estimate, based on the latest surveillance data and
          scientific knowledge. Parameter values are based on data received by CDC prior to 4/29/2020.



       Table 1. Parameter Values that vary among the five COVID-19 Pandemic Planning Scenarios. The
       scenarios are intended to advance public health preparedness and planning. They are not predictions or
       estimates of the expected impact of COVID-19. The parameter values in each scenario will be updated
       and augmented over time, as we learn more about the epidemiology of COVID-19. Additional parameter
       values might be added in the future (e.g., population density, household transmission, and/or race and
       ethnicity).

            Parameter values are based on data received by CDC prior to 4/29/2020

                                                                                                         Scenario 5:
Parameter                 Scenario 1          Scenario 2          Scenario 3         Scenario 4         Current Best
                                                                                                          Estimate
R0
Source: Preliminary
                            2                  2                  3                  3                 2.5
COVID-19 estimates,
ASPR and CDC
Symptomatic Case
Fatality Ratio,     0-49 years: 0.0002 0-49 years: 0.0002 0-49 years: 0.001 0-49 years: 0.001 0-49 years: 0.0005
stratified by age   50-64 years: 0.001 50-64 years: 0.001 50-64 years: 0.006 50-64 years: 0.006 50-64 years: 0.002
Source: Preliminary  65+ years: 0.006   65+ years: 0.006   65+ years: 0.032   65+ years: 0.032   65+ years: 0.013
COVID-19 estimates,   Overall: 0.002     Overall: 0.002     Overall: 0.010     Overall: 0.010     Overall: 0.004
CDC

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Symptomatic Case
Hospitalization
                      0–49 years: 0.013 0–49 years: 0.013 0–49 years: 0.026 0–49 years: 0.026 0–49 years: 0.017
Ratio, stratified by
                      50–64 years: 0.036 50–64 years: 0.036 50–64 years: 0.057 50–64 years: 0.057 50–64 years: 0.045
age
                       65+ years: 0.052   65+ years: 0.052   65+ years: 0.10    65+ years: 0.10    65+ years: 0.074
Source: Preliminary
                        Overall: 0.028     Overall: 0.028     Overall: 0.041     Overall: 0.041     Overall: 0.034
COVID-19 estimates,
CDC
Percent of infections
that are
asymptomatic
                            20%                 50%               20%                 50%                35%
Source: Preliminary
COVID-19 estimates,
ASPR and CDC
Infectiousness of
asymptomatic
individuals relative
to symptomatic              50%                100%               50%                100%               100%
individuals
Source: Assumption,
ASPR and CDC

           Table 2. Parameter Values Common to the Five COVID-19 Pandemic Planning Scenarios.
           The parameter values are likely to change as we obtain additional data about disease severity and
           viral transmissibility of COVID-19.

           Parameter values are based on data received by CDC prior to 4/29/2020

         Pre-existing immunity                No pre-existing immunity before the pandemic began in 2019. It is
         Source: Assumption, ASPR and         assumed that all members of the U.S. population were susceptible to
         CDC                                  infection prior to the pandemic.
         Percentage of transmission
         occurring prior to symptom
         onset:                                                                  40%
         Source: Preliminary COVID-19
         estimates, ASPR and CDC
         Time from exposure to symptom
         onset
                                                                            ~6 days (mean)
         Source: Pre-publication COVID-19
         estimates*
         Time between symptom onset in
         an individual and symptom onset
         of a second person infected by
                                                                            ~6 days (mean)
         that individual
         Source: Pre-publication COVID-19
         estimates

                                       Parameter Values Related to Healthcare Usage


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  Time to seek care (outpatient)                                             ≤2 days: 35%
  Source: Survey of persons with                                            3–7 days: 50%
  Influenza like illness (ILI), CDC†                                         ≥8 days: 25%
  Mean number of days from
  symptom onset to hospitalization                                    0-49 years: 6.9 (5.0) days
  (standard deviation)                                                50-64 years: 7.2 (5.3) days
  Source: Preliminary COVID-19                                         ≥65 years: 6.2 (5.7) days
  estimates, CDC§
  Mean number of days of
  hospitalization among those not
  admitted to ICU (standard                                           0-49 years: 3.9 (3.7) days
  deviation) ¶
                                                                      50-64 years: 4.9 (4.3) days
                                                                       ≥65 years: 6.3 (5.1) days
  Source: Preliminary COVID-19
  estimates, CDC
  Mean number of days of
  hospitalization among those
  admitted to ICU (standard                                           0-49 years: 9.5 (7.2) days
  deviation) ¶
                                                                     50-64 years: 10.5 (7.0) days
                                                                      ≥65 years: 10.0 (6.8) days
  Source: Preliminary COVID-19
  estimates, CDC
  Percent admitted to ICU among
                                                                          0-49 years: 21.9%
  those hospitalized
                                                                          50-64 years: 29.2%
  Source: Preliminary COVID-19
                                                                           ≥65 years: 26.8%
  estimates, CDC
  Percent on mechanical ventilation
                                                                          0-49 years: 72.1%
  among those in ICU
                                                                          50-64 years: 77.6%
  Source: Preliminary COVID-19
                                                                           ≥65 years: 75.5%
  estimates, CDC
  Mean number of days of
  mechanical ventilation (standard
  deviation)                                                            Overall: 5.5 (5.3) days
  Source: Preliminary COVID-19
  estimates, CDC
  Mean number of days from
  symptom onset to death                                             0-49 years: 14.9 (7.7) days
  (standard deviation)                                               50-64 years: 15.3 (8.1) days
  Source: Preliminary COVID-19                                        ≥65 years: 12.9 (7.6) days
  estimates, CDC§
  Mean number of days from death
  to reporting (standard deviation)                                   0-49 years: 7.1 (7.7) days
  Source: Preliminary COVID-19                                        50-64 years: 7.2 (7.7) days
                                                                       ≥65 years: 6.6 (7.3) days
  estimates, CDC**

 *Khalili, M., Karamouzian, M., Nasiri, N., Javadi, S., Mirzazadeh, A., & Sharifi, H. (2020). Epidemiological
 Characteristics of COVID-19: A Systemic Review and Meta-Analysis. medRxiv.



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 † Biggerstaff, M., Jhung, M. A., Reed, C., Fry, A. M., Balluz, L., & Finelli, L. (2014). Influenza-like illness, the
 time to seek healthcare, and influenza antiviral receipt during the 2010–2011 influenza season—United States. The
 Journal of infectious diseases, 210(4), 535-544.

 § Estimates only include onset dates between March 1, 2020 – March 31, 2020 to ensure cases have had sufficient
 time to observe the outcome (hospital admission or death).

 ¶ Estimates only include hospital admission dates between March 1, 2020 – March 31, 2020 to ensure cases have
 had sufficient time to observe the outcome (hospital discharge or death).

 ** Estimates only include death dates between March 1, 2020 – March 31, 2020 to ensure sufficient time for
 reporting




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